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 Fill in this information to identify the case:

 Debtor 1 Judith Holmes aka Judith M Holmes
 aka Judith M Haynes
 Debtor 2
 (Spouse, if filing)
 United States Bankruptcy Court for the : SOUTHERN District of Florida
                                                              (State)

 Case number 19-25604-RAM




Official Form 410S1
Notice of Mortgage Payment Change                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your
proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.

 Name of creditor: J.P. Morgan Mortgage Acquisition Corp.                      Court claim no. (if known): 1

 Last 4 digits of any number you use to                                        Date of payment change 3/1/2023
 identify the debtor’s account: 6443                                           Must be at least 21 days after date
                                                                               Of this notice

                                                                               New total payment: $839.41
                                                                               Principal, interest, and escrow, if any



  Part 1:        Escrow Account Payment Adjustment

 1. Will there be a change in the debtor’s escrow account payment?
 ☐No.
 ☒Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
        for the change. If a statement is not attached, explain why:



    Current escrow payment: $ 287.06                                            New escrow payment: $ 286.43

  Part 2:        Mortgage Payment Adjustment

 2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
    variable-rate account?
  ☒ No
  ☐ Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
         attached, explain why:




        Current interest rate:          %                                       New interest rate:          %


       Current principal and interest payment: $               .                      New principal and interest payment: $            .


  Part 3:        Other Payment Change
Debtor 1    Judith Holmes aka Judith
                       Case          M Holmes aka Judith M
                                19-25604-RAM               Haynes
                                                         Doc  100                  Filed 01/27/23              Case number
                                                                                                              Page   2 of 9(if known: 19-25604-RAM
           First Name            Middle Name              Last Name



 3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?
 ☒ No
 ☐ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)

        Reason for change:


      Current mortgage payment: $                     .                         New mortgage payment: $                     .




   Part 4:      Sign here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

 Check the appropriate box:

      ☐ I am the creditor.

      ☒ I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information in this claim is true and correct to the best of my knowledge, information, and
 reasonable belief.


 ✘ /s/ Ida A. Moghimi-Kian .    Date 01/27/2023
    Signature



 Name        Ida        A.         Moghimi-Kian .                       Title Attorney for the Creditor_.
             First name   Middle name Last name

 Company          _Diaz Anselmo & Associates, P.A.                                                  .


 Address         _P.O. BOX 19519                                               .
                 Number      Street

                  Fort Lauderdale,       FL       33318
                  City             State             Zip Code

 Contacted phone (954) 564-0071                      Email : IMoghimi-Kian@dallegal.com




Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 2
Debtor 1    Judith Holmes aka Judith
                       Case          M Holmes aka Judith M
                                19-25604-RAM               Haynes
                                                         Doc  100   Filed 01/27/23     Case number
                                                                                      Page   3 of 9(if known: 19-25604-RAM
           First Name        Middle Name       Last Name




                                            CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this day, January 27, 2023, a copy of the foregoing was furnished

electronically and/or via first class U.S. Mail upon:

JUDITH HOLMES AKA JUDITH M HOLMES
AKA JUDITH M HAYNES
17720 NW 41 AVENUE
OPA LOCKA, FL 33055
Debtor(s)

MANDY L MILLS
4343 W. FLAGLER STREET, STE. 100
MIAMI, FL 33134
Attorney for Debtor(s)

NANCY K.NEIDICH
PO BOX 279806
MIRAMAR, FL 33027
Trustee

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
51 S.W. 1ST AVE. SUITE 1204
MIAMI, FL 33130
U.S. Trustee


                                                       Diaz Anselmo & Associates, P.A.
                                                       Attorneys for Creditor (SHD No. 1461-184536)
                                                       P.O. BOX 19519
                                                       Fort Lauderdale, FL 33318
                                                       Phone: (954) 564-0071
                                                       Fax: (954) 564-9252
                                                       By: /s/ Ida A. Moghimi-Kian
                                                          Ida A. Moghimi-Kian
                                                          Florida Bar No.56395
                                                          IMoghimi-Kian@dallegal.com




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                                                                                           AE CCHJG ADMJ
                                                                             A HM GN BFC


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                                                                                                           DD DD
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 December 21, 2022                                                                                                     Loan Number:     7603846443




How did Rushmore make the escrow calculations?

 Step 1: Rushmore analyzes all items paid by the escrow account, we then calculate the amount that you’ll likely need to pay these

 bills.

 Step 2: We take your anticipated taxes and/or insurance premiums to determine the total outgoing payments. We then divide the

 total outgoing payments by 12 to determine your monthly escrow amount.

 Your total anticipated tax and/or insurance premium(s) are as follows:

 Annual Property Taxes                                 $1,566.74

 Annual Property Insurance                             $1,870.44

 Total                                                 $3,437.18 divided by 12 months = $286.43


 Step 3: We calculate the minimum required escrow balance. Your escrow account must have a minimum balance of $0.00 for the

 next year.

 Step 4: We calculate your annual escrow account projection for the coming year. If your monthly escrow balance falls below the

 minimum balance of $0.00, your escrow account experiences a shortage. If our calculation determines that your monthly escrow

 balance will not reach the minimum balance, your escrow account will have an overage.

 The table below demonstrates the estimated activity in your escrow account for the coming year.




What escrow activity is expected in the coming year?

  The highlighted row indicates the lowest estimated escrow balance for the year of $7,085.05. The difference between the

  lowest projected balance of $7,085.05 and the minimum required escrow balance of $0.00 is $7,085.05.



  $7,085.05 is your escrow overage.


                             PAYMENTS                     ESTIMATED PAYMENTS FROM                                    ESCROW ACCOUNT

                                 TO                            ESCROW ACCOUNT                                                BALANCE

                             ESCROW           MIP/PMI             Taxes            Flood       Homeowner's           Estimated       Required

                             ACCOUNT                                          Insurance             Insurance




                                                                                                                                                         A G B HMHIBMG


                                                                                                                                                                                       AE CCHJG ADMJ
                                                                                                                                                                         A HM GN BFC


                                                                                                                                                                                                       D
                                                                                                                                                                                                       DD DD
            Anticipated

                                                                                            Starting Balance         $7,599.75           $514.70
          Date of Activity


              Mar 23             $286.43                                                               $114.87        $7,771.31           $686.26


              Apr 23             $286.43                                                               $114.87        $7,942.87           $857.82


              May 23             $286.43                                                               $114.87        $8,114.43         $1,029.38


              Jun 23             $286.43                                                               $114.87        $8,285.99         $1,200.94


               Jul 23            $286.43                                                               $114.87        $8,457.55         $1,372.50


              Aug 23             $286.43                                                               $114.87        $8,629.11         $1,544.06


              Aug 23                                                              $492.00                             $8,137.11         $1,052.06


              Sep 23             $286.43                                                               $114.87        $8,308.67         $1,223.62


              Oct 23             $286.43                                                               $114.87        $8,480.23         $1,395.18


              Nov 23             $286.43                        $1,566.74                                             $7,199.92           $114.87


              Nov 23                                                                                   $114.87        $7,085.05              $0.00


              Dec 23             $286.43                                                               $114.87        $7,256.61           $171.56


              Jan 24             $286.43                                                               $114.87        $7,428.17           $343.12


              Feb 24             $286.43                                                               $114.87        $7,599.73           $514.68




  NOTE:     If this escrow analysis indicates that there is a surplus, it may not mean that you are entitled to receive a return of that surplus. This


  analysis was calculated based on an assumption that the account is current according to the terms of the note and Mortgage/Deed of Trust. If


  the account is behind, in default, or in bankruptcy, this analysis may not reflect the current state of the account or the terms of a bankruptcy


  plan. If there are enough funds in the escrow account the surplus will be mailed to you within 30 days, provided the account is current under the


  terms of the note and Mortgage/Deed of Trust.




              Back of coupon or check intentionally left blank
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 December 21, 2022                                                                                                     Loan Number:      7603846443




What escrow activity occurred since your last analysis?

    The chart below reflects what actually happened in your escrow account since your last analysis.


    Between 09/2022 and 12/2022 a total of $861.18 was deposited to your escrow account and a total of $2,026.22 was disbursed from

    your escrow     account as follows. Totals for each disbursements are noted below.


                                   COUNTY/PARIS:       $1,566.74


                                     HAZARD INS.:      $459.48




                 PAYMENTS TO ESCROW                                                                                  ESCROW BALANCE




                                                                                                                                                            000513 3/3
                                                    PAYMENTS FROM ESCROW ACCOUNT
                           ACCOUNT                                                                                        COMPARISON


     Month of         Estimated            Actual       Estimated          Actual   Description                         Estimated          Actual


      Activity                                                                      Starting Balance                     $984.78      $8,420.41


       Sep 22           $287.06                           $114.87        $114.87    HAZARD INS.                         $1,156.97      $8,305.54


      Oct 22            $287.06          $287.06          $114.87        $114.87    HAZARD INS.                         $1,329.16      $8,477.73


      Nov 22            $287.06          $287.06        $1,501.35      $1,566.74    COUNTY/PARIS                          $114.87      $7,198.05


      Nov 22                                              $114.87        $114.87    HAZARD INS.                             $0.00      $7,083.18


      Dec 22            $287.06          $287.06          $114.87        $114.87    HAZARD INS.              E            $172.19      $7,255.37




          E—Indicates the activity has not yet occurred but is estimated to occur as shown.



  *If there is an amount listed in the “Actual” column under Payments To Escrow Account on Page 2 above, then this is the assumption that was made and

  indicates the amount that would have been paid into escrow for a contractually current loan. This number does not represent payments that were actually

  made by you. As discussed above, these escrow calculations are calculated based on an assumption that the account would be current according to the

  terms of the note and mortgage/deed of trust.



  Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained will be used for


  that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for informational


  purposes only, is not an attempt to collect a debt and does not constitute a notice of personal liability with respect to the debt.




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                                                                                                                                                                                                   AGGMOCOOIOOGGCOKACCMMOKCAMAMIAOK
                                                                                                                                            *
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December 21, 2022                                                                                           Loan Number:    7603846443


                                                       ADDITIONAL NOTICES



 Rushmore Loan Management Services LLC          is a Debt Collector attempting to collect a debt.


 Bankruptcy Notice. If you are in bankruptcy or if your obligation to repay this loan was discharged in bankruptcy, this

 informational notice is sent to you in order to comply with statutory requirements. It is not an attempt to collect a debt. You may

 disregard information relating to payment remittance. You are not obligated to make payments and any amount(s) you do pay

 Rushmore is at your discretion.     Please note, however, Rushmore reserves the right to exercise its legal rights, including but not

 limited to foreclosure of its lien interest, only against the property securing the original obligation.


 If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other servicer

 directly to discuss any possible loss mitigation options that may be available to you.


 If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is being

 sent for information purposes only and does not constitute personal liability with respect to the debt.


 LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit

 bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.


 Notice of Error Resolution & Information Request Procedures

 The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan

 Management Services LLC      (RLMS). Please keep this document for your records.


 If you think an error has occurred on your mortgage account or if you need specific information about the servicing of

 your loan, please write us at:


                                                 Rushmore Loan Management Services LLC

                                                              P.O. Box 52262

                                                           Irvine, CA 92619-2262


 All written requests for information or notices of error should contain the following information:
    1. Your name
    2. Account number
    3. Property Address
    4. Description of the error and explanation as to why you believe it is an error or a request for specific information regarding




                                                                                                                                            A G B HMHIBMG


                                                                                                                                                                          AE CCHJG ADMJ
                                                                                                                                                            A HM GN BFC
        the servicing of your loan




                                                                                                                                                                                          D
                                                                                                                                                                                          DD DD
    5. Current contact information so we may follow up with you

 All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error

 occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff

 statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up to

 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send you a

 written explanation. You may ask for copies of the documents that we used in our investigation.


 HUD STATEMENT

 Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive

 counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing

 counseling agencies by calling the HUD nationwide toll-free telephone at 1-800-569-4287.


 Equal Credit Opportunity Act Disclosure

 NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of

 race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding

 contract); because all or part of the applicants income derives from any public assistance program; or because the applicant has in

 good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance with this

 law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20552 or

 Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.


 The following notice is in reference to the Homeowner Assistance Fund:

 The Homeowner Assistance Fund is a federal program to help homeowners impacted by COVID-19 resolve mortgage payments

 and other housing expenses. To learn more about the availability of Homeowner Assistance Funds in your state, please visit

 Rushmore's State Homeowner Assistance Resources page at https://www.rushmorelm.com/state-assistance/.




                                                                                                                                Rev 06/22
